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 AO 440 (Rev. 12/09) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                    Northern District of California

 FACEBOOK, INC.,                                                  )
                                                                  )
                              Plaintif!
                                                                  )
                         v.                                       )       Civil Action No. CVI0-4673 (JSW)
THOMAS PEDERSEN, an individual, d/b/a                             )
Faceporn.com and RETRO INVENT AS, a                               )
Norwegian private limited company d/b/a                           )
Faceporn.com
                             Defendant

                                                  SUMMONS IN A CIVIL ACTION
                                                 ON FIRST AMENDED COMPLAINT

To: (Defendant's name and address)

          RETRO INVENT AS
          Valendorfsgaten 9
          Bergen 5012
          Norway

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:


         ANNE H. PECK (SBN 124790
         JEFFREY T. NORBERG (SBN 215087)
         CooleyLLP
         3175 Hanover Street
         Palo Alto, CA 94304-1130

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK. OF COu.w:y.--


Date: _ _ _ _ _ _ _ _ __                                                              I
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                                                                                          /   BETTY P. LEE



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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not he filed with tlte court
                                                                                Hatt
                                                                                 ~

           This summons for (name of ilJc!ividual an
 was received by me on (date)




           D I left thf summons at the individual' s resi~ence or usual place of abode with (nan;::J _ _ _ _ _ _ _ _ __
          ____----'\;-___________' ¥On of suitable age and discr .                                       en; who resides there,
           on (d",,)        \"                      '   ~~~)lil<il'; c6ll1:, to the individual ,~, I   nwn addre",   0'

           D I served the s~ons
                            \.
                                on (nG1                  --...;\\r---....."..::-----"'\r---------;r'~---, who is
                                                           of individual)
                                                               \                      \
           designated by law to\~.~cep ervice of process on beha~ 0 name oforganizatid1-tJ
                                                                                         \-----;r'~---------------

          __________~~~-------------~~~~-On(da/~ _____·_\\~-----;or
                                        "



                                                                            /
          D I return7ummons unexecuted bec7-----\r-----~~--_";~---------; or
          D Othey(i'pecif.Y}:           (
                 /
          My fees are $ _______ for travel and $ _ _ _ _ _ _ for services, fora total of $ .;:.0.:. ;:.0'-=0_ _ _ _ __


          I declare under penalty of perjury that this information is true.


Date:




Additional information regarding attempted service, etc:




                                                                                                                     America. Leg_JNc!. be..
                                                                                                                     ,\ ': \.y   i , W~" ~\'''fU~'W~
                           Case 3:10-cv-04673-JSW Document 20 Filed 05/19/11 Page 3 of 3




                                                                                 CERTIFICATE
                                                                                  ATTESTATION


    The undersigned authority has the .honour to certify, in conformity with artlc.1e 6 of the Convention,
    L 'autorite soussignee a I'nlmneur d 'attesler conformemenl aI'article 6 de ladite Convention.


    1) that the document has been served "
    1. que 10 demande a ele execulee
              -the (date)
              -Ie (daie)
              - at (Place, street, number)
              -;, (locallite, rue n~mero)                                                                              LI(, 5/s6
              -In one of the following methods authorised by nUde 50
              ;fans une desformes suivanles prevul;S;' ['arlicle 5:
                   o (a) in accordance with the prOVisions of sub-paragraph (a> oCthe Orst paragraph ohrtlcle 5 oCthe Convention·.
                      a) selolliesfonnes legales (article 5, a/illea premier, lellre oj.
                  ·0 (b) in accordance wIth tbe following particular method":
                     b) selon laformepanicutieresuivallte: ..;..._ _ _ _ _.....:.A       _-=c
                                                                                            =~;.,. K
                                                                                                   :...::::....;:,.~
                                                                                                                  :::....O
                                                                                                                     _?t ~)_/V
                                                                                                                            _=_·
                                                                                                                      __L_L_ "t-y____________
                     o (c) by delivery to tbe addressee, who accepted It voluntarily. •
                      c) par remise simple
             The'documents referred to In the request have been delivered to:
             Les documenls menlionnes da./IS la demande 0111 iIi remis 0:
                  -(identity and deScription of person)
                  -(idenlite e/ quaJiM de la Personlle)             J8£6E/V WIK                                       6-~06E T1/6~1   r
                    -relationship to the addresSee (family, business, or other):
                    -liens de parente. de silbordination ou aulres, avec /e destinn/aire de I'acle: _

  2) that the document hai not been served, by reason oCtbe following facts":
  2. que la demallde II 'a pas iIi exiclltee. en raison des failS suivants:
                                                                                                                  J2Ereo
 In conformity wltb tbe .second parAgrapb of article 12 of the Conv.entlon, the applicant Is requested to payor reimburse
 the expenses detailed In tbe attached statement·,

 COllformellt a I'article 12, alinea 2, de ladite Convention. Ie requera~t est prie ie payer ou de rembourser les frais dont Ie
 detail figure au memoire ci-joiht.

 Annexes
 Annexes
 Documents returned:
 Pieces renvoyies:



                                                                                         Doneat               !5ER6E IV     • the
                                                                                         Fait a                             , ie
  .In appropdate cases, docbments establishing ~he service:
   Le cas ~cManl, les documents jusl/flcati[s de I 'execulion:                           Signature and I or stamp.
                                                                                         Signature et lou cachet.




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Rnyer Its ,.",11<>.. I••tll",.                                                                                        Angelica Alme
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